Case 3:21-md-03004-NJR Document 4525 Filed 07/04/23 Page 1 of 2 Page ID #27209




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


  In re: PARAQUAT PRODUCTS                        Case No. 3:21-md-3004-NJR
  LIABILITY LITIGATION
                                                  MDL No. 3004
  This Document Relates to:



                           ORDER STAYING DEADLINE

 ROSENSTENGEL, Chief Judge:

        On May 15, 2023, this Court issued Case Management Order No. 18 (“CMO 18”)

 directing Plaintiffs’ counsel to certify certain information as to each Plaintiff by June 15,

 2023. (Doc. 4242). The parties were ordered to meet and confer about certain pending

 cases, and Defendants were ordered, if appropriate, to file a motion identifying any case

 that does not present a viable cause of action by June 20, 2023. (Doc. 4242).

        On June 19, 2023, Plaintiffs filed a Motion to Modify in Part and Stay in Part CMO

 18 relating to the June 20 deadline. (Doc. 4433). The Court ordered Defendants to respond

 to Plaintiffs’ motion on or before June 30, 2023. (Doc. 4436).

        Meanwhile, pursuant to the deadline imposed by CMO 18, Defendants filed a

 Motion for Docket Control Order on June 20, 2023. (Docs. 4441 (sealed) and 4455

 (redacted)). The Court ordered Plaintiffs to respond on or before July 5, 2023. (Doc. 4460).

        On June 30, 2023, Defendants filed their response to Plaintiffs’ Motion to Modify

 in Part and Stay in Part CMO 18. (Doc. 4524).

        The Court is advised that the parties met and conferred regarding these




                                         Page 1 of 2
Case 3:21-md-03004-NJR Document 4525 Filed 07/04/23 Page 2 of 2 Page ID #27210




 outstanding motions on June 30, with the Special Master present. The Court has consulted

 with Special Master Ellis on the best way to handle the competing motions relating to

 CMO 18, the parties’ positions as discussed during the meet and confer conference, and

 specifically, Plaintiffs’ request for additional time to review the issues raised in

 Defendants’ Motion for Docket Control Order.

        Accordingly, the July 5 deadline for Plaintiffs to respond to Defendants’ Motion

 for Docket Control Order is STAYED for 30 days. On or before August 4, 2023, the

 parties, with the assistance of Special Master Ellis, shall resume discussions regarding

 “categories” of cases that have no plausible basis on their face for inclusion in this

 multidistrict litigation. If discussions are not productive, Special Master Ellis shall

 immediately report the parties’ positions and impasse to the Court. In that instance, a

 short deadline for Plaintiffs to respond will be set, and the Court will resolve the motions.

        IT IS SO ORDERED.

        DATED: July 4, 2023

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                                                   NANCY J. ROSENSTENGEL
                                                   Chief U.S. District Judge




                                         Page 2 of 2
